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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

                                                 Case No. 19-31483(ABA)
  In re:
                                                 Chapter 7
  HOVATTER, Edward J. and Kimberly
  Macaluso,                                      Honorable Andrew B. Altenburg, U.S.B.J.

                          Debtors.



                WITHDRAWAL OF PROOF OF CLAIM NO. 9 FILED BY
                       CHARLES N. PERSING, RECEIVER

                Charles N. Persing, Receiver, by and through his undersigned counsel, withdraws
 his Proof of Claim No. 9.


                                                   MCMANIMON SCOTLAND & BAUMANN,
                                                   LLC, COUNSEL TO BEDERSON, LLCP AND
                                                   CHARLES N. PERSING

 Dated: July _14_, 2020                            By:   /s/ Andrea Dobin
                                                                ANDREA DOBIN
